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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Roanoke Division

 __________________________________________
                                           :
 ALESSANDRO CANCIAN,                       :
                                           :
       Plaintiff,                          :
                                           :
 v.                                        :                   Civil Action No.: 7:18-cv-283
                                           :
 HANNABASS AND ROWE, INC., and             :                   COMPLAINT AND JURY
 LINDSAY MICHELLE STINSON,                 :                   DEMAND
                                           :
       Defendants.                         :
                                           :
 __________________________________________:


              FIRST AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT

         Plaintiff, ALESSANDRO CANCIAN (“Cancian” or “Plaintiff”), brings this complaint in

 the United States District Court for the Western District of Virginia against HANNABASS AND

 ROWE, INC (“Hannabass”), and LINDSAY MICHELLE STINSON (“Stinson”) (Together

 “Defendants”), alleging as follows:


                                              PARTIES

 1. Plaintiff is an experienced, commercial wildlife and travel photographer. Plaintiff’s

     photographs have been published by a wide variety of editorial and trade magazines during

     his nearly ten-year career. Plaintiff resides in Ontario, Canada.

 2. On information and belief, Hannabass is a Corporation existing under the laws of the

     Commonwealth of Virginia, with headquarters in Roanoke, Virginia. Hannabass specializes

     in a collision repair and glass replacement for automobiles. Hannabass is the owner of the

     commercial website, www.hannabassandrowe.com.


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 3. On information and belief, Stinson is an individual residing in Salem, Virginia.


                                      JURISDICTION AND VENUE

 4. This is a civil action seeking damages for copyright infringement under the copyright laws of

     the United States (17 U.S.C. § 101 et seq.).

 5. This Court has jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal

     question); and 28 U.S.C. § 1338(a) (copyright).

 6. Defendants are subject to personal jurisdiction in Virginia.

 7. Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a) because the

     events giving rise to the claims occurred in this district, Defendants engaged in infringement

     in this district, Defendants reside in this district, and Defendants are subject to personal

     jurisdiction in this district.

 8. This Court also has personal jurisdiction over Defendants, and venue in this District is proper

     under 28 U.S.C. § 1400(a).


                      FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

 9. Plaintiff captured the photograph, “Speeding Fall” (“Copyrighted Photograph”) on July 16,

     2011in Muskoka, Ontario, Canada. [Exhibit 1].

 10. On or about March 17, 2012, Plaintiff posted Copyrighted Photograph to

     www.500px.com/photo/5858062/speeding-fall-by-alessandro-

     cancian?ctx_page=3&from=user&user_id=353150 (Last visited June 1, 2018). [Exhibit 2].

 11. Beginning on or about November 23, 2015, Defendants copied and posted Copyrighted

     Photograph to Hannabass’s commercial website, www.hannabassandrowe.com (Last visited

     June 1, 2018).



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 12. On information and belief, at the time of infringement detailed in Paragraph 11 of this

     Amended Complaint, Stinson was the sole owner of Stinson Communications, LLC, a

     Virginia Limited Liability Company.

 13. Stinson Communications, LLC was formed by Stinson on October 24, 2014 and dissolved

     for non-payment of fees on January 31, 2017.

 14. Defendants posted Copyrighted Photograph to the following URLs:

     • www.hannabassandrowe.com/fall-driving-tips

     • www.hannabassandrowe.com/tag/fall-driving

     • www.hannabassandrowe.com/tag/safety-tips

     • www.hannabassandrowe.com/category/hannabass-and-rowe

       (Last visited June 1, 2018). [Exhibit 3].

 15. Plaintiff registered Copyrighted Photograph with the United States Copyright Office on May

     5, 2017 (Registration No.: VA 2-062-573). [Exhibit 4].


   COUNT I: INFRINGEMENT OF COPYRIGHT PURSUANT TO 17 U.S.C. § 101 ET SEQ.

 16. Plaintiff incorporates herein by this reference each and every allegation contained in each

     paragraph above.

 17. Plaintiff is, and at all relevant times has been, the copyright owner or licensee of exclusive

     rights under United States copyright with respect to Copyrighted Photograph, which is the

     subject of a valid Certificate of Copyright Registration by the Register of Copyrights.

 18. Among the exclusive rights granted to each Plaintiff under the Copyright Act are the

     exclusive rights to reproduce and distribute Copyrighted Photograph to the public.

 19. Plaintiff is informed and believes Defendants, without the permission or consent of Plaintiff,

     copied and used Copyrighted Photograph on Hannabass’s commercial website,

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     www.hannabassandrowe.com. In doing so, Defendants violated Plaintiff’s exclusive rights of

     reproduction and distribution. Defendants’ actions constitute infringement of Plaintiff’s

     copyright and exclusive rights under copyright.

 20. Upon information and belief, Stinson was the dominant influences in Stinson

     Communications, LLC, and determined and/or directed the policies that led to the

     infringements complained of herein. Accordingly, Stinson is jointly and severally liable for

     any direct copyright infringement committed by Stinson Communications, LLC. See Broad.

     Music, Inc. v. It’s Amore Corp., No. 3:08CV570, 2009 WL 1886038 (M.D. Pa. June 30,

     2009), citing Sailor Music v. Mai Kai of Concord, Inc., 640 F. Supp. 629, 634 (D.N.H.1984).

     Upon further information and belief, Stinson possessed the right and ability to supervise the

     infringing activities of Stinson Communications, LLC, and possessed an obvious and direct

     financial interest in the exploited copyrighted materials by virtue of her sole ownership in the

     company. Accordingly, Stinson is vicariously liable for any copyright infringement

     committed by Stinson Communications, LLC. See, e.g., Nelson-Salabes, Inc. v. Morningside

     Dev., LLC, 284 F.3d 505, 513 (4th Cir. 2002).

 21. Plaintiff is informed and believes that the foregoing act of infringement was willful and

     intentional, in disregard of and with indifference to the rights of Plaintiff.

 22. As a result of Defendants’ infringement of Plaintiff’s copyright and exclusive rights under

     copyright, Plaintiff is entitled to actual damages, including any profits realized by

     Defendants attributable to the infringement, pursuant to 17 U.S.C. § 504(b) for Defendants’

     infringement of Copyrighted Photograph.




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                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

 A. Declaring that Defendants’ unauthorized conduct violates Plaintiff’s rights under the Federal

     Copyright Act;

 B. Immediately and permanently enjoining Defendants, their officers, directors, agents,

     servants, employees, representatives, attorneys, related companies, successors, assigns, and

     all others in active concert or participation with them from copying and republishing

     Plaintiff’s Copyrighted Photograph without consent or otherwise infringing Plaintiff’s

     copyright or other rights in any manner;

 C. Ordering Defendants to account to Plaintiff for all gains, profits, and advantages derived by

     Defendants by their infringement of Plaintiff’s copyright or such damages as are proper;

 D. Awarding Plaintiff actual damages for Defendants’ copyright infringement in an amount to

     be determined at trial;

 E. Awarding Plaintiff his costs, reasonable attorney’s fees, and disbursements in this action,

     pursuant to 17 U.S.C. § 505; and

 F. Awarding Plaintiff such other and further relief as is just and proper.




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                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury on all claims for which there is a right to jury

 trial.



 Dated: October 2, 2018                                  ___/s/____David C. Deal____________
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                                  EXHIBIT 1




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                                  EXHIBIT 2




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                                  EXHIBIT 3




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                                  EXHIBIT 4




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